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                 EXHIBIT 8
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From:                   Olivares, Dagny (CDC/DDPHSIS/CPR/DEO)
Sent:                   24 Feb 2020 21:49:37 +0000
To :                    Bonds, Michelle E. (CDC/OD/OADC)
Cc:                     Burns, Erin (CDC/DDID/NCIRD/ID);CDC IMS JIC OADC LNO -2;CDC IMS JIC Lead -2
Subject:                Updated Comm & Media Strategy (for ASPA)
Att achments:           CDC_Comms and Media Strategy fo r COVID-19_022420.docx
Im port ance:           High

Michelle, we have a request to provide our Comm & Media Strategy to ASPA this afternoon. The
attached document resolves all the comments we received during the review process. You requested to
review it after that before we finalize the document (and share w ith ASPA).

Would it be possible for you to review in the next hour and either send it back to us to make any
changes, send it back to us to send to ASAP, or send it on to ASPA yourself?

Thank you,
Dagny




Dagny E. P. Olivares
Joint Information Center (JIC) Co-L ead
Coronavirus Dis eas e 2019 (COVID-19) Respons e
404 -271-3054
eocj iclead2@cdc .gov
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DRAFT CDC Communication                              and Media Strategy
for the Coronavirus                  Disease 2019 Response
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